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 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
12   JOHN DOE,                                  Case No.:
13         Plaintiff,                            COMPLAINT FOR DAMAGES
14                v.               1. Title IX-Erroneous Outcome
                                   2. Title IX-Selective Enforcement
15   THE REGENTS OF THE UNIVERSITY 3. 14th Amendment Procedural Due
     OF CALIFORNIA; and DOES 1-20,
16   inclusive.                       Process
                                   4. Breach of Contract
17          Defendants.            5. Promissory Estoppel
                                   6. Negligence
18                                 7. Violation of Cal. Civ. Code, § 51
19                                 8. Wrongful Termination
20
21         COMES NOW PLAINTIFF John Doe (“Plaintiff” or “Doe”), by and through his
22   attorneys Hathaway Parker Inc., as and for his Complaint, respectfully alleges as
23   follows:
24                               NATURE OF THIS ACTION
25         This case arises out of the improper actions taken and the flawed Title IX
26 procedures employed by Defendant the Regents of the University of California, also
27 known as the University of California at Los Angeles (“Defendant” or “UCLA” or
28 “Regents”) concerning false allegations that Plaintiff John Doe (“John Doe”), a male
                                          COMPLAINT
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 1 Ph.D. graduate student at UCLA, violated the UC Policy for Sexual Violence and Sexual
 2 Harassment.
 3         UCLA improperly banned Plaintiff from his housing and employment and
 4 suspended him for two-year years, prohibiting Doe from completing his doctoral degree
 5 at UCLA and causing the loss of his F-1 Visa, after a flawed Title IX investigation found
 6 John Doe responsible for just one of the thirteen alleged incidents of misconduct brought
 7 by his ex-fiancée, Jane Roe, a former UCLA student.
 8         Defendant Regents’ improper actions and sanctions were eventually ordered set
 9 aside and vacated by California Superior Court Judge James C. Chalfant, but by then
10 Plaintiff had suffered irreparable harm and damages caused by Regents’ improper and
11 unlawful acts.
12                                       THE PARTIES
13         Plaintiff JOHN DOE was, at all times relevant, a graduate student at the
14 University of California, Los Angeles.
15       Respondent REGENTS OF THE UNIVERSITY OF CALIFORNIA (hereinafter
16 “University of California” or “UC Regents”), is the official name of the public
17 corporation that governs and operates the University of California as a public trust
18 through its 26-member board of Regents. University of California Los Angeles is one of
19 the 10 campuses of the University of California system and is located in Los Angeles,
20 California.
21        Non-party JANE ROE at all times relevant was a former UCLA student and is the
22 complainant in the underlying Title IX misconduct adjudication process conducted by
23 UCLA and respondent UC Regents.
24         Plaintiff uses the pseudonyms of “John Doe” and “Jane Roe” in his Petition to
25 preserve privacy in a matter of sensitive and highly personal nature, which outweighs the
26 public’s interest in knowing the parties’ identity. Use of the pseudonyms does not
27 prejudice Respondents because the identities of Plaintiff and the Reporting Party are
28 known to Respondents. (See, Starbucks Corp. v. Superior Court (2008) 68 Cal.App.4th
                                          COMPLAINT
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 1 1436 [“The judicial use of ‘Doe plaintiffs’ to protect legitimate privacy rights has gained
 2 wide currency, particularly given the rapidity and ubiquity of disclosures over the World
 3 Wide Web”]; see also Doe v. City of Los Angeles (2007) 42 Cal.4th 531; Johnson v.
 4 Superior Court (2008) 80 Cal.App.4th 1050; Roe v. Wade (1973) 410 U.S. 113; Doe v.
 5 Bolton (1973) 410 U.S. 179; Poe v. Ullman (1961) 367 U.S. 497; In Does I thru XXIII v.
 6 Advanced Textile Corp. (9th Cir. 2000) 214 F.3d 1058.
 7           Plaintiff John Doe and Defendant Regents are sometimes hereinafter collectively
 8 referred to as the “parties.”
 9                             JURISDICTION AND VENUE
10           This Court has federal question and supplemental jurisdiction pursuant to 28
11 U.S.C. § 1331 and under 28 U.S.C. § 1367 because: (i) John Doe states claims arising
12 under the Constitution and laws of the United States, including Title IX of the Education
13 Amendments of 1972, 20 U.S.C. §§ 1681-88; and (ii) the state law claims are so closely
14 related to the federal law claims as to form the same case or controversy under Article III
15 of the U.S. Constitution
16        This Court has personal jurisdiction over Defendant Regents on the grounds that
17 the University is conducting business within the State of California.
18       Venue for this action properly lies in this Central District pursuant to 28 U.S.C. §
19 1391 because UCLA is considered to reside in this judicial district and a substantial part
20 of the events or omissions giving rise to the claim occurred in this judicial district.
21                   GENERAL ALLEGATIONS COMMON TO ALL CLAIMS
22   A.     SUMMARY OF RELEVANT FACTS.
23              1.    Jane Roe’s February 13, 2017 Surprise Office Visit.
24           Plaintiff John Doe, a Chinese national PhD Chemistry/Biochemistry student on an
25 F-1 student visa, first met Jane Roe when she was enrolled in Chemistry 14BL in the
26 Spring Quarter of 2014. Jane Roe and Plaintiff began a long-term romantic relationship
27 sometime during the summer of 2014.
28       During the time in which the parties were romantically involved, Plaintiff
                                          COMPLAINT
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 1 supported Jane Roe’s lifestyle by showering Roe (and her extended family) with high
 2 valued gifts as well as loaning Jane Roe substantial amounts of money that were
 3 ultimately never entirely paid back to Plaintiff.
 4        Plaintiff proposed marriage to Jane Roe in December 2016 and Jane Roe accepted
 5 his proposal, planning to get married after Plaintiff graduated with his doctorate in June
 6 2017.
 7         In early February 2017, however, Plaintiff learned that Jane Roe had been
 8 unfaithful to him throughout the course of their relationship.
 9        Upon learning of Jane Roe’s infidelity and deception, Plaintiff was naturally
10 devastated and confused.
11        Before ending the relationship, terminating the engagement and cancelling the
12 wedding, Plaintiff sought to confirm and verify whether or not Jane Roe was in fact
13 having sexual relations with another person while engaged to be married to Plaintiff.
14 The other person presented written evidence and proof of what Plaintiff did not want to
15 believe, that Roe was in fact in a romantic relationship with another person, who was
16 likewise unaware of Jane Roe’s relationship with Plaintiff.
17        On or about Sunday, February 12, 2017, Plaintiff sought to break off his
18 engagement with Jane Roe due to her infidelity and lies. Jane Roe and Plaintiff agreed
19 through text messages to meet at Jane Roe’s house on February 12, 2017. After meeting
20 briefly outside her home, Jane Roe and Plaintiff agreed to meet on campus that afternoon
21 to discuss their relationship, but that Sunday afternoon meeting never occurred.
22         Early in the morning of Monday, February 13, 2017, Plaintiff and Jane Roe
23 agreed through text messages to meet after Plaintiff had finished teaching his classes and
24 Jane Roe got off work to exchange property that each had in their possession.
25         Plaintiff then discovered that Jane Roe had withdrawn the entire balance,
26 approximately $8,000, from their joint bank account.
27       Later that morning, about 9:45 a.m., Jane Roe suddenly and without an
28 appointment, showed up at Plaintiff’s teaching assistant office. Jane Roe came to
                                          COMPLAINT
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 1 confront Plaintiff without an appointment because, according to Jane Roe, Plaintiff was
 2 “always in his office” and even used to “live on campus.”
 3          Jane Roe claimed that she took the day off from work to go to Plaintiff’s on-
 4 campus office to retrieve her Social Security Card, which she believed Plaintiff had in
 5 his possession for over three years, but she was “not sure.” Jane Roe also claimed that
 6 she wanted to return everything that Plaintiff had ever bought or given her since the day
 7 they met, but only brought with her a single handbag, some jewelry, and a credit card
 8 that Plaintiff had given to Jane Roe.
 9         Once she arrived at his UCLA office on the first floor of Young Hall, Jane Roe
10 caused a scene by banging on his office door repeatedly, without announcing herself,
11 until Plaintiff appeared and answered the door.
12          When he finally appeared from his office, even though he was busy meeting with
13 another graduate student at the time, Plaintiff was surprised to see Jane Roe standing in
14 his doorway, and said, “You cannot enter my office.”
15          Jane Roe repeatedly demanded that Plaintiff return her social security card and
16 also demanded that Plaintiff take the items she had brought with her. When Plaintiff
17 asked for his engagement ring back, Jane Roe said she said that she had thrown it into
18 the ocean.
19        Plaintiff explained that he needed to leave to teach a class and asked that Jane
20 Roe wait until he was finished, but Jane Roe refused to let him leave the office.
21       Jane Roe said that she would not leave, continued to demand her social security
22 card and other items, and said that she was going to call the police and that Plaintiff
23 “would go to jail.” Plaintiff did not believe he had Jane Roe’s social security card, but he
24 told Jane Roe that he would look through his belongings at a later time and return all her
25 property to her.
26          Plaintiff continued to explain that he needed to leave to teach a class. Plaintiff
27 asked that Jane Roe wait until he was finished, but Jane Roe refused to let him go.
28        Jane Roe attempted to call the police on her cell phone but did not have cell

                                           COMPLAINT
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 1 service.
 2        Jane Roe stood in the doorway, stretching her arms out to both sides, at one point
 3 placing her hand in front of her with her palm facing Plaintiff, and another time pointing
 4 her elbow towards Plaintiff. Eventually, Plaintiff was able to get around Jane Roe and
 5 leave for class, clutching papers for his lecture in one arm. Even then, Jane Roe
 6 followed Plaintiff and tried to prevent him from entering the classroom where he was to
 7 lecture.
 8        After Plaintiff left to teach his class, Jane Roe called law enforcement and
 9 reported to the responding UCLA police officers that Plaintiff had pushed her in the
10 upper torso area and had grabbed her wrist and forearm.
11          UCLA police then went to the classroom where Plaintiff was lecturing and waited
12 until the end of class at approximately 10:45 a.m. to arrest Plaintiff for violation of Penal
13 Code § 243(e)(1) (Domestic Battery), a misdemeanor.
14          UCLA PD contacted the Chinese Consulate to inform them of Plaintiff’s
15 detention and arrest, in compliance with departmental foreign national arrest and
16 detention notification policy.
17          On February 13, 2017, Jane Roe did not sustain any injuries as a result of her
18 encounter with John Doe.
19       Jane Roe never returned all of the items that Plaintiff had given her during the
20 course of their relationship.
21        On February 13, 2017, Jane Roe was not an active student enrolled at UCLA.
22          On February 13, 2017, Plaintiff was an active graduate student in good standing
23 at UCLA and maintained a teaching/research assistant office on the UCLA campus.
24       Plaintiff’s first language is not English, his academic use of English at UCLA has
25 been limited to the field of chemistry, and he needs a translator for issues that require a
26 fluent and nuanced understanding of the English language and American legal
27 terminology.
28             2.   Jane Roe’s Title IX Complaint.

                                           COMPLAINT
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 1          Although Jane Roe was not a student at the time, on February 20, 2017 UCLA
 2 Interim Title IX Coordinator Jessica Price discussed with Jane Roe options available to
 3 her as a Title IX complainant, including a no-contact order, and resources such as
 4 CARE. According to its website:
 5                CARE is a confidential place for survivors of sexual assault,
 6                dating and domestic violence, and stalking. Our CARE
                  Advocates offer free consultation and supportive services to
 7
                  UCLA students, staff, and faculty. You can get help without
 8                formally reporting an assault or requesting formal treatment. In
                  addition to advocacy, CARE also provides alternative healing
 9
                  groups to survivors. CARE also offers prevention education to
10                the campus community.
11          Jane Roe misrepresented her student status to the University; however, UCLA
12 could have easily verified her status.
13          UCLA offers extensive services and accommodations to accusers, i.e. “survivors”
14 of sexual assault, dating and domestic violence, and stalking, including the service of a
15 CARE advocate.
16          UCLA offers far fewer services and accommodations to accused students and
17 does not allow anyone to advocate on behalf of an accused student.
18          UCLA’s disparate treatment and resources for accused student versus accusers is
19 a violation of Title IX and California’s Unruh Civil Rights Act.
20          On April 13, 2017, UCLA Title IX Investigator Danica Meyers met with Jane
21 Roe to inform her about the Title IX investigation process. Jane Roe reported thirteen
22 alleged instances of misconduct by Plaintiff, going back to the Fall of 2014.
23          Ultimately twelve of the thirteen allegations Jane Roe made against her ex-
24 fiancée, Plaintiff, were not substantiated by the UCLA Title IX investigation and
25 adjudication process.
26          Jane Roe also falsely claimed to UCLA Title IX that she had suffered a rib bone
27 fracture as a result of the encounter with Plaintiff on February 13, 2017, even though
28 photos taken by police of Jane Roe that morning show no bodily injuries.
                                            COMPLAINT
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 1          On April 13, 2017, Jane Roe was not an active UCLA student attending classes.
 2             3.   Defendant’s Title IX Investigation.
 3          On May 10, 2017, the Title IX Office and the Office of Student Conduct issued a
 4 joint Notice of Charges to Plaintiff, charging Plaintiff with violations of the university’s
 5 student and faculty conduct policies relating to Dating Violence, Conduct that Threatens
 6 Health or Safety, Stalking, Sexual Harassment, Terrorizing Conduct, and Sexual
 7 Assault- Contact.
 8          On May 10, 2017, the Office of the Dean of Students issued an immediate interim
 9 suspension against Plaintiff, banned him from University property, and immediately
10 evicted him from University student housing without a hearing, pending resolution of the
11 allegations contained in the Notice of Charges.
12         Plaintiff appealed the interim suspension and requested a special hearing with the
13 Dean of Students Maria Blandizzi. After the special hearing on May 22, 2017, Dean
14 Blandizzi modified the interim suspension to allow Plaintiff to participate in certain
15 activities on campus.
16         On May 11, 2017, Title IX investigator/adjudicator Danica Myers requested for
17 Plaintiff to meet with her and respond to the allegations but did not provide Plaintiff with
18 any evidence, witness statements, or specifics other than what was provided in the
19 Notice of Charges.
20        UCLA Title IX investigators are instructed to not record any witness interviews.
21          The standard of care for reasonable, thorough, and impartial investigations calls
22 for the audio recording of important witness interviews.
23         UCLA had no record of the questions asked during witness interviews, the
24 verbatim responses of the witnesses, nor the context of the witnesses’ responses.
25        At some point, responsibility for the investigation was transferred from Danica
26 Myers to an attorney, Title IX investigator/adjudicator Sonia Shakoori (SBN 285247.)
27       Sometime prior to July 25, 2017, Title IX investigator/adjudicator attorney Sonia
28 Shakoori requested for Plaintiff to meet with her and respond to the allegations, but did
                                           COMPLAINT
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 1 not provide Plaintiff with any evidence, witness statements, or specifics other than what
 2 was provided in the Notice of Charges.
 3         On July 25, 2017, Title IX investigator/adjudicator Sonia Shakoori met with
 4 Plaintiff and his advisors and informed Plaintiff of his resources and options, including
 5 an overview of the investigation procedures. Title IX investigator/adjudicator Sonia
 6 Shakoori did not provide Plaintiff with any evidence, such as Jane Roe’s statement to
 7 review. Plaintiff presented to attorney Sonia Shakoori a written statement of events and
 8 responded to her questions.
 9       Under UCLA’s policy, accused students may provide their own advisor, who may
10 be an attorney, however, the advisor may not speak or participate in any way in the Title
11 IX investigation/adjudication process, nor may the advisor advocate on behalf of an
12 accused student.
13       On August 3, 2017, Title IX investigator/adjudicator Sonia Shakoori met with
14 Jane Roe and her university-provided CARE advocate to explain the timeline of the
15 process and to provide Jane Roe the opportunity to review and respond to Plaintiff’s
16 statement.
17       Between July 26, 2017 and August 9, 2017, Title IX investigator/adjudicator
18 Sonia Shakoori obtained information from witnesses identified as Witness 1, Witness 2,
19 Witness 3, and Witness 4.
20         On September 11, 2017, Title IX investigator/adjudicator Sonia Shakoori
21 provided very limited access to the “the summary of information on which I would rely
22 upon when making my findings and a final opportunity to comment and/or provide new
23 information.”
24       Title IX investigator/adjudicator Sonia Shakoori made the information available
25 only through a secure online computer service that prevented Plaintiff from printing or
26 downloading the documents, which could only be reviewed online, one page at a time.
27         The online-only viewing of the Title IX investigation summary of information
28 was only available from September 11, 2017 to September 12, 2017.
                                          COMPLAINT
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 1         On September 15, 2017, the Title IX Office and the Office of Student Conduct
 2 issued a joint amended Notice of Charges to Plaintiff that added numerous new charges,
 3 expanding the previous May 10, 2017, Notice of Charges letter from four to eight
 4 incidents of misconduct.
 5        Regarding the February 13, 2017 encounter when Jane Roe came to his office
 6 unannounced, the amended Notice of Charges stated:
 7                  It has been alleged that on February 13, 2017, Respondent
 8                  engaged in one incident of Dating Violence as defined in UC
                    SV and SH Policy Section II.B.1.c.i., in that he assaulted
 9                  Complainant outside of his office located in Young Hall, in
10                  violation of Code Section 102.08 (Conduct that Threatens
                    Health of [sic] Safety).
11
12         Under the September 15, 2017 Notice of Charges letter, Plaintiff was charged
13 with a single incident of Dating Violence regarding February 13, 2017, on the grounds
14 that he violated UCLA Student Code of Conduct section 102.08 by allegedly assaulting
15 Jane Roe outside of his office.
16       That same day, September 15, 2017, Title IX investigator/adjudicator Sonia
17 Shakoori notified Plaintiff that she anticipated issuing her Notice of Findings and
18 Recommendations on the charges in the new Notice of Charges letter the following
19 week.
20         On September 19, 2017, Title IX investigator/adjudicator Sonia Shakoori offered
21 the Plaintiff and Jane Roe another limited opportunity to review and respond to the
22 information that she may rely upon in making her findings.
23         On September 20, 2017, Plaintiff responded and provided additional evidence.
24             4.    Title IX Investigator Makes Ultimate Findings re Policy Violations.
25         On September 22, 2017, Title IX investigator/adjudicator Sonia Shakoori issued
26 her Investigation Report to resolve the complaint submitted by Jane Roe against
27 Plaintiff. In her report, attorney Shakoori concluded that Plaintiff was not responsible
28 for twelve of the thirteen allegations brought against him by Jane Roe but was
                                          COMPLAINT
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 1 responsible for the February 13, 2017 encounter when Jane Roe came to Plaintiff’s
 2 office unannounced to confront him.
 3         UCLA provided only a redacted report, with unidentified witnesses, meaning that
 4 the University has improperly made decisions based on evidence and information not
 5 disclosed to Plaintiff.
 6         UCLA failed to provide the opportunity for a prompt and fair hearing where the
 7 University shall bear the burden of proof, and at which the accused shall have the
 8 opportunity to present documents and witnesses and to confront and cross-examine
 9 witnesses presented by the University.
10        The sole Title IX investigator/adjudicator provided only narrative summaries and
11 paraphrases of witness statements, not the actual witness statements, which fails to
12 comply with the requirements of a fair, thorough, and impartial investigation.
13         By ignoring evidence and selecting only evidence that tends to support a finding
14 of a violation, the University failed to properly weigh the evidence.
15         The sole Title IX investigator/adjudicator made findings of violations of policy
16 that were not disclosed to Plaintiff in the Notice of Charges or amended Notice of
17 Charges.
18         In her report, Title IX investigator/adjudicator Sonia Shakoori found that Jane
19 Roe suffered no bodily injury on February 13, 2017.
20       In her report, Title IX investigator/adjudicator Sonia Shakoori cites no evidence
21 that any conduct of Plaintiff on February 13, 2017 actually placed Jane Roe in
22 reasonable fear of serious bodily injury.
23         The findings of Title IX investigator/adjudicator Sonia Shakoori that Jane Roe
24 was placed in reasonable fear of serious bodily injury is unsupported by the weight of the
25 evidence.
26         The findings of Title IX investigator/adjudicator Sonia Shakoori that Jane Roe
27 was placed in reasonable fear of serious bodily injury is unsupported by substantial
28 evidence.
                                          COMPLAINT
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 1         Under the University of California Policy for Sexual Violence and Sexual
 2 Harassment (policy SVSH), “Dating Violence” is conduct by a person who is or has
 3 been in a romantic or intimate relationship with the Complainant that intentionally, or
 4 recklessly, causes bodily injury to the Complainant or places the Complainant in
 5 reasonable fear of serious bodily injury.
 6         Under the UCLA Student Conduct Code, section 102.08, Conduct that Threatens
 7 Health or Safety is defined as:
 8                Conduct that threatens the health or safety of any person
 9                including, but not limited to physical assault, threats that cause
                  a person reasonably to be in sustained fear for one’s own safety
10                or the safety of her or his immediate family, incidents involving
11                the use or display of a weapon likely to cause great bodily harm,
12                and intoxication or impairment through the use of alcohol or
                  controlled substances to the point one is unable to exercise care
13                for one’s own safety, or other conduct that threatens the health
14                or safety of any person.
15         Under the UCLA Student Conduct Code, section 102.09 Sexual Harassment is
16 defined as the term is used in the University of California Policy for Sexual Violence and
17 Sexual Harassment, i.e. as unwelcome sexual advances, unwelcome requests for sexual
18 favors, and other unwelcome verbal, nonverbal or physical conduct of a sexual nature
19 when:
20
                  Quid Pro Quo: a person’s submission to such conduct is
21                implicitly or explicitly made the basis for employment
22                decisions, academic evaluation, grades or advancement, or
                  other decisions affecting participation in a University program;
23                or
24
                  Hostile Environment: such conduct is sufficiently severe or
25                pervasive that it unreasonably denies, adversely limits, or
26                interferes with a person’s participation in or benefit from the
                  education, employment or other programs and services of the
27                University and creates an environment that a reasonable person
28                would find to be intimidating or offensive.

                                           COMPLAINT
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 1         Under the UCLA Student Conduct Code, section 102.26 Terrorizing Conduct is
 2 defined as:
 3               Conduct, where the actor means to communicate a serious
 4               expression of intent to terrorize, or acts in reckless disregard of
                 the risk of terrorizing, one or more University students, faculty,
 5
                 or staff.
 6
                 Terrorize means to cause a reasonable person to fear bodily
 7               harm or death, perpetrated by the actor or those acting under
 8               his/her control.
 9
10         Although he was only charged with one incidence of Dating Violence under the
11 UC SVSH policy in the Notice of Charges, Title IX investigator/adjudicator Shakoori
12 also found that Plaintiff was responsible for violations of UCLA Student Conduct Code
13 sections 102.08 (Conduct that Threatens Health & Safety), 102.09 (Sexual Harassment),
14 and 102.26 (Terrorizing Conduct).
15         The finding by Title IX investigator/adjudicator Shakoori that Plaintiff was
16 responsible for violation of UCLA Student Conduct Code section 102.08 (Conduct that
17 Threatens Health & Safety) is unsupported by the weight of the evidence.
18         The finding by Title IX investigator/adjudicator Shakoori that Plaintiff was
19 responsible for violation of UCLA Student Conduct Code section 102.08 (Conduct that
20 Threatens Health & Safety) is unsupported by substantial evidence.
21         The finding by Title IX investigator/adjudicator Shakoori that Plaintiff was
22 responsible for violation of UCLA Student Conduct Code section 102.09 (Sexual
23 Harassment) is unsupported by the weight of the evidence.
24         The finding by Title IX investigator/adjudicator Shakoori that Plaintiff was
25 responsible for violation of UCLA Student Conduct Code section 102.09 (Sexual
26 Harassment) is unsupported by substantial evidence.
27         The finding by Title IX investigator/adjudicator Shakoori that Plaintiff was
28 responsible for violation of UCLA Student Conduct Code section 102.26 (Terrorizing
                                          COMPLAINT
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 1 Conduct) is unsupported by the weight of the evidence.
 2      The finding by Title IX investigator/adjudicator Shakoori that Plaintiff was
 3 responsible for violation of UCLA Student Conduct Code section 102.26 (Terrorizing
 4 Conduct) is unsupported by substantial evidence.
 5              5.    Review by Director of Office of Student Conduct and Two-Year
 6                    Suspension.
 7           On September 26, 2017, Plaintiff wrote to Jasmine Rush, Associate Dean of
 8 Students & Director of the Office of Student Conduct, to urge Dean Rush to reject the
 9 recommendations of Title IX investigator/adjudicator Shakoori. Plaintiff presented
10 factual and legal arguments for rejecting the findings of the investigator, such as the
11 findings were unsupported by the evidence because there was no evidence of bodily
12 injury nor placing of Jane Roe in reasonable fear of serious bodily injury, and pointed
13 out:
14                   I have never physically assaulted, threatened, or harmed Ms.
15                   [Roe]. Ms. [Roe’s] behavior is disturbing. She has engaged in a
                     purposeful campaign to destroy my life. Her allegations are
16                   untruthful and were not supported by the evidence. Based on
17                   the foregoing, this Title IX case should be dismissed.
18
             Under UCLA’s procedures, Dean Jasmine Rush was to perform a paper-only
19
     review of attorney Sonia Shakoori’s investigation and findings and decide whether to
20
     accept or reject Ms. Shakoori’s opinions regarding responsibility and non-responsibility
21
     based on the preponderance or weight of the evidence.
22
             On October 13, 2017, Dean Jasmine Rush issued her report, accepting the
23
     findings of non-responsibility for the twelve allegations and the finding Plaintiff had
24
     violated section II.B.1.c.i. (Dating Violence) of the UC SVSH Policy and UCLA Student
25
     Conduct Code section 102.08, Conduct that Threatens Health & Safety on February 13,
26
     2017.
27
             Dean Rush, however, determined that the preponderance of the evidence did not
28
                                             COMPLAINT
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 1 support attorney Shakoori’s opinion the Plaintiff violated Sections 102.09 and 102.26 of
 2 the UCLA Student Conduct Code regarding February 13, 2017.
 3          In her report, Dean Jasmine Rush adopted the finding of Title IX investigator/
 4 adjudicator Sonia Shakoori that Jane Roe suffered no bodily injury on February 13,
 5 2017.
 6          In her report, Dean Jasmine Rush references no evidence that any conduct of
 7 Plaintiff on February 13, 2017 actually placed Jane Roe in reasonable fear of serious
 8 bodily injury.
 9          In her report, Dean Jasmine Rush made no finding that any conduct of Plaintiff on
10 February 13, 2017 actually placed Jane Roe in reasonable fear of serious bodily injury.
11       The finding of Dean Jasmine Rush that Plaintiff had violated section II.B.1.c.i.
12 (Dating Violence) of the UC SVSH Policy and UCLA Student Conduct Code section
13 102.08, Conduct that Threatens Health & Safety on February 13, 2017 is unsupported by
14 the weight of the evidence.
15        The finding of Dean Jasmine Rush that Plaintiff had violated section II.B.1.c.i.
16 (Dating Violence) of the UC SVSH Policy and UCLA Student Conduct Code section
17 102.08, Conduct that Threatens Health & Safety on February 13, 2017 is unsupported by
18 substantial evidence.
19           Without providing any rationale, justification or explanation, Dean Jasmine
20 Rush issued a sanction of a two-year suspension from UCLA, even though Plaintiff is
21 completing his doctorate degree on an F-1 visa and a two-year suspension would be a de
22 facto expulsion, resulting in Plaintiff having to leave the United States, or face
23 deportation.
24             Dean Jasmine Rush did not take into consideration the impact on Plaintiff of
25 separating him from his education and completion of his Ph.D. in Chemistry.
26           The two-year suspension imposed by the University served no educational
27 purpose.
28             The two-year suspension imposed by the University was disproportionate to

                                           COMPLAINT
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 1 the findings.
 2            6.   Defendant’s Title IX Limited Appeal Process.
 3            On October 27, 2017, Plaintiff timely filed his appeal from Dean Jasmine’s
 4 findings and sanctions decision on the basis that (1) the decision was unreasonable based
 5 on the evidence; (2) the disciplinary sanctions were disproportionate to the findings; and
 6 (3) there was a procedural error in the process that materially affected the outcome.
 7            Jane Roe did not file an appeal from the findings and sanctions issued by Dean
 8 Rush.
 9            On November 1, 2017, Barbara Dalton notified Plaintiff that she would be
10 serving as the UCLA Appeal Hearing Chair.
11           Barbara Dalton is not a member of University staff or an academic appointee,
12 but is an attorney (SBN #176251) and Vice President and Legal Director of Public
                                 1
13 Interest Investigations, Inc.
14            On November 14, 2017, Appeal Hearing Chair Barbara Dalton notified
15 Plaintiff that he may proceed with arguments under Appeal Ground 1, Procedural Error,
16 related to the issues with a Chinese-language interpreter during the Title IX
17 investigation/adjudication process. Plaintiff would also be allowed to proceed with
18 several of his arguments brought under Grounds 2 and 4, but not on the other grounds set
19 forth in his appeal.
20
        1
          Public Interest Investigations, Inc. provides Title IX investigation services to
21
     colleges and universities, and was involved in a number of Title IX campus
22   investigations that are the subject of litigation. (see, John Doe v. Occidental College,
23   Los Angeles Superior Court Case no. BS147275; California Court of Appeal Case no.
     B284707; John Doe v. Occidental College, Los Angeles Superior Court Case no.
24   BS150532; California Court of Appeal Case no. B282292; John Doe v. Occidental
25   College, Los Angeles Superior Court Case no. BS155004; California Court of Appeal
     Case no B282434; John Doe v. Occidental College, Los Angeles Superior Court Case
26
     no. BS156253; John Doe v. Ainsley Carry, et al., Los Angeles Superior Court Case no.
27   BS163736; John Doe v. Samuel Glick, et al., Los Angeles Superior Court Case no.
28   BS163739; John Doe v. Occidental College, Los Angeles Superior Court Case no.
     BS170573; John Doe v. Regents, et al., Riverside Superior Court Case no. RIC1802988.
                                             COMPLAINT
                                                    16
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 1             The Appeal Hearing was conducted pursuant to Appendix E of the UC Sexual
 2 Violence and Sexual Harassment Policy, (University of California – Policy PACAOS-
 3 Appendix-E).
 4             During the Title IX appeal process, the University places the burden on
 5 Plaintiff to persuade the Appeal Panel by a preponderance of the evidence that Chinese-
 6 language translation issues materially affected the outcome of the
 7 investigation/adjudication process; that the University’s decision was unreasonable
 8 based on the evidence; and, that the sanctions were disproportionate to the findings.
 9             For violations of the UCLA Student Conduct Code, such as section 102.08,
10 Conduct that Threatens Health & Safety, the UCLA Student Conduct Code requires that
11 the accused student must have a prompt and fair hearing where the University shall bear
12 the burden of proof, and at which the student shall have the opportunity to present
13 documents and witnesses and to confront and cross-examine witnesses presented by the
14 University.
15           UCLA failed to provide Plaintiff the opportunity for a prompt and fair hearing
16 where the University shall bear the burden of proof, and at which the accused shall have
17 the opportunity to present documents and witnesses and to confront and cross-examine
18 witnesses presented by the University.
19           In shifting the burden in the appeal, the accused student is required to disprove
20 the Title IX investigator’s opinion by a preponderance of the evidence, an all but
21 impossible task.
22             UCLA failed to provide Plaintiff an opportunity to question Jane Roe, the
23 Complainant, if even indirectly.
24             7.   The Appeal Hearing
25             On December 8, 2017, the Appeal Hearing went forward with Joseph Brown,
26 Director of Graduate Student Affairs, and attorney Emily Scivoletto (aka Emily
27 Leverenz Randon), UCLA Law School Associate Dean for Academic and Student
28 Affairs, serving as the other two members of the three-member Appeal Body, together
                                          COMPLAINT
                                             17
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 1 with attorney Barbara Dalton.
 2           Neither Jane Roe nor Plaintiff testified during the Appeal Hearing.
 3             Dean Jasmine Rush testified that a two-year suspension is the minimum
 4 sanction for an instance of dating violence but did not provide any authority, rationale, or
 5 justification.
 6             The University policy does not require a minimum two-year sanction in
 7 instances of dating violence, only under certain circumstances.
 8           The University has no rationale for a minimum term of sanctions of two years
 9 suspension.
10          The imposition of sanctions with no rationale is arbitrary and capricious.
11             8.   Plaintiff has Exhausted Administrative Remedies.
12             On or about December 13, 2017, Plaintiff was notified that the Appeal Body
13 denied his appeal and that that the Decision of Dean Rush is now final, and the sanctions
14 are effective immediately.
15             As of December 13, 2017, Plaintiff had no further avenue of administrative
16 appeal and had exhausted his administrative remedies.
17             9.   Plaintiff Has Exhausted Judicial Remedies.
18             On February 13, 2018, Plaintiff filed a Petition for Writ of Mandamus in the
19 matter of John Doe v. Regents LASC case no. BS172217, alleging that Regents had
20 failed to grant Plaintiff a fair hearing required by Code Civ. Proc., § 1094.5, committed a
21 prejudicial abuse of discretion, failed to proceed in the manner required by law, issued a
22 decision that is not supported by the findings, and made findings that are not supported
23 by the evidence.
24           On April 13, 2018, Superior Court Judge James C. Chalfant granted Plaintiff’s
25 motion to stay the decision and sanctions imposed by Regents on the grounds that
26 Plaintiff would suffer irreparable harm without the stay, the stay was not against the
27 public interest, and that the evidence did not support Respondents’ findings.
28            Even after Plaintiff was granted the stay, the Title IX suspension caused John

                                          COMPLAINT
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 1 Doe to lose his F-1 Visa status, which became "out of status."
 2           On May 22, 2018, Regents filed their Confession of Judgment on the grounds
 3 that Regents believed that “John Doe's Petition for Writ of Mandamus should be granted
 4 in that a peremptory writ of administrative mandate should issue commanding the
 5 University to reconsider its action;”
 6           In submitting their Confession of Judgment, Regents conceded that their Title
 7 IX investigation process failed to comply with the fair hearing requirements of Code
 8 Civ. Proc., § 1094.5 and Title IX.
 9             On May 24, 2018, the Hon. James C. Chalfant entered Judgment against
10 Regents.
11             As of May 24, 2018, Plaintiff had exhausted his judicial remedies.
12             Although Plaintiff obtained a stay of the suspension and sanctions on April 13,
13 2018 and Judgement was entered in his favor May 24, 2018, by that time irreparable
14 damage had already been done due to Regents’ bad acts.
15                                FIRST CAUSE OF ACTION
16            Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. §
17                              1681, et seq.- Erroneous Outcome
18                                     (Defendant Regents)
19             Plaintiff repeats and re-alleges each and every allegation hereinabove as if
20 fully set forth herein.
21             Title IX of the Education Amendments of 1972 provides, in relevant part, that:
22 “No person in the United States shall, on the basis of sex, be excluded from participation
23 in, be denied the benefits of, or be subjected to discrimination under any education
24 program or activity receiving Federal financial assistance.”
25          Title IX of the Education Amendments of 1972 applies to all public and
26 private educational institutions that receive federal funding, which includes Defendant
27 UCLA.
28             Both the Department of Education and the Department of Justice have

                                           COMPLAINT
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 1 promulgated regulations under Title IX that require a school to “adopt and publish
 2 grievance procedures providing for the prompt and equitable resolution of student...
 3 complaints alleging any action which would be prohibited by” Title IX or regulations
 4 thereunder. 34 C.F.R. § 106.8(b) (Dep’t of Education); 28 C.F.R. § 54.135(b) (Dep’t of
 5 Justice) (emphasis added). Such prohibited actions include all forms of sexual
                                                                       2
 6 harassment, including sexual intercourse, sexual assault, and rape.
 7            In 2001, the Office for Civil Rights issued the “Revised Sexual Harassment
 8 Guidance: Harassment of Students by School Employees, Other Students, or Third
 9 Parties” (the “2001 Guidance”) pursuant to the Administrative Procedure Act’s notice
10 and comment rulemaking.
11         According to the 2001 Guidance, the procedures adopted by a school covered
12 by Title IX must not only “ensure the Title IX rights of the complainant,” but must also
                                                      3
13 “[accord] due process to both parties involved…”
14            The “prompt and equitable” procedures that a school must implement include,
15 at a minimum:
16
                  a. “Notice . . . of the procedure, including where complaints may be filed”;
17
                  b. “Application of the procedure to complaints alleging [sexual]
18
                     harassment...”;
19
                  c. “Adequate, reliable, and impartial investigation of complaints, including
20
                     the opportunity to present witnesses and other evidence”;
21
                  d. “Designated and reasonably prompt timeframes for the major stages of
22
                     the complaint process”; and
23
                  e. “Notice to the parties of the outcome of the complaint......” 4
24
25
        2
          See generally U.S. Dep’t of Education, Office for Civil Rights, Revised Sexual
26
     Harassment Guidance: Harassment of Students by School Employees, Other Students, or
27   Third Parties -- Title IX (2001) at 19-20, 21 & nn. 98-101
        3
28        Id. at 22 (emphasis added).
        4
          Id. at 20.
                                           COMPLAINT
                                                  20
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 1               A school also has an obligation under Title IX to ensure that all employees
 2 involved in the investigation and adjudication process have “adequate training as to what
 3 conduct constitutes sexual harassment, which includes ‘alleged sexual assaults.’” 5
 4               Further, Title IX Coordinators should not have a conflict of interest. “For
 5 example, serving as Title IX coordinator and a disciplinary hearing board member may
 6 create a conflict of interest.” April 2011 Dear Colleague Letter at 7; August 2015 Dear
 7 Colleague Letter at 2-3.
 8          Title IX may be violated by a school’s failure to prevent or remedy sexual
 9 harassment or sexual assault or by the imposition of university discipline where gender is
10 a motivating factor in the decision to discipline. In either case, the statute is enforceable
11 through an implied private right of action.
12           Challenges to university disciplinary proceedings for sex discrimination
13 generally fall into two categories: (1) “erroneous outcome” cases, in which the claim is
14 that plaintiff was innocent and wrongly found to have committed an offense and gender
15 bias was a motivating factor behind the erroneous findings; and (2) “selective
16 enforcement” cases, in which the claim asserts that, regardless of the student’s guilt or
17 innocence, the severity of the penalty and/or decision to initiate the proceeding was
18 affected by the student’s gender.
19           To succeed on an erroneous outcome claim, a plaintiff must demonstrate that
20 there was (1) a flawed proceeding that (2) led to an erroneous outcome that was adverse
21 to the plaintiff; and (3) specific circumstances suggesting gender bias led to the
22 erroneous outcome.
23           An “erroneous outcome” occurred in Plaintiff’s case. Plaintiff was innocent
24 and wrongly found to have committed a violation of UCLA’s policies, and gender bias
25 was a motivating factor.
26               On April 4, 2011, the Office for Civil Rights (“OCR”) of the United States
27
28      5
            Id. at 21.
                                             COMPLAINT
                                                21
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 1 Department of Education issued a guidance letter to colleges and universities in the
 2 United States in receipt of federal funding which became widely known as the “Dear
 3 Colleague Letter” (the “DCL”). The DCL advised recipients that sexual violence
 4 constitutes sexual harassment within the meaning of Title IX of the Education
 5 Amendments of 1972, 20 U.S.C. §1681 et seq. and its regulations, and directed schools
 6 to “take immediate action to eliminate the harassment, prevent its recurrence and address
 7 its effects.” DCL at p. 4.
 8             The DCL responded, in part, to a special investigative report published by
 9 National Public Radio and the Center for Public Integrity, which proclaimed a campus
10 rape epidemic and criticized the OCR for its lax response to what the report
11 characterized as a social problem of critical importance. See http://www.npr.org
12 /templates/story/story.php?storyId=124001493. The report described in detail the
13 obstacles faced by sexual assault victims in obtaining redress though college disciplinary
14 proceedings and how victims who did engage in the college disciplinary process suffered
15 additional trauma as a result. Much of the report focused on underreporting, re-
16 traumatization of victims, rape myth adherence on college campuses, and young men’s
17 cultural adherence to the sexual aggressor role.
18            The DCL, further, relied on faulty statistics in sounding a “call to action” for
19 campuses nationwide—that “about 1 in 5 women are victims of completed or attempted
20 sexual assault while in college.” DCL, at p. 2. The researchers behind this study
21 subsequently invalidated that statistic as a misrepresentation of the conclusions of the
22 study and warned that it was “inappropriate to use the 1-in-5 number as a
23 baseline…when discussing our country’s problem with rape and sexual assault.”
24 http://time.com/3633903/campus-rape-1-in-5-sexual-assault-setting-record-straight/.
25 Relying on these faulty numbers, the DCL minimized due process protections for the
26 accused by, among other things, eschewing any presumption of innocence, mandating a
27 preponderance of the evidence standard, limiting cross-examination, and forbidding
28 certain forms of alternative dispute resolution.
                                           COMPLAINT
                                              22
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 1               On April 29, 2014, OCR issued additional directives to colleges and
 2 universities in the form of a guidance document titled Questions and Answers on Title IX
 3 and Sexual Violence (“Q&A”) which was aimed at addressing campus sexual
 4 misconduct policies, including the procedures colleges and universities “must” employ
 5 “to prevent sexual violence and resolve complaints” and the elements that “should be
 6 included in a school’s procedures for responding to complaints of sexual violence.”
 7 Q&A, at p. 12. The Q&A advised schools to adopt a trauma informed approach,
 8 advising, for example, that hearings should be “conducted in a manner that does not
 9 inflict additional trauma on the complainant.” Id. at p. 31. While the Q&A advised that
10 “the rights established under Title IX must be interpreted consistently with any federally
11 guaranteed due process rights…a school should ensure that any due process rights do not
12 restrict or unnecessarily delay the protections provided by Title IX to the complainant.”
13 Id. at p. 13.
14               In April 2014, the White House issued a report entitled “Not Alone”, which
15 included a warning that if the OCR finds that a Title IX violation occurred, the “school
16 risks losing federal funds” and that the Department of Justice (“DOJ”) shares authority
17 with OCR for enforcing Title IX and may initiate an investigation or compliance review
18 of schools. Further, if a voluntary resolution cannot be reached, the DOJ may initiate
19 litigation.
20               In June 2014, then Assistant Secretary of Education Catherine Lhamon
21 testified before the United States Senate that if OCR could not secure voluntary
22 compliance with the DCL from a college or university, it may elect to initiate an
23 administrative action to terminate federal funds or refer the case to the Department of
24 Justice. To support enforcement of the DCL the OCR hired hundreds of additional
25 investigators. To date, OCR has resolved 193 investigations of colleges for the potential
26 mishandling of complaints of sexual violence, while 309 cases remain open.
27 https://projects.chronicle.com/titleix/
28            A pervasive atmosphere of anti-male bias within the Title IX enforcement

                                           COMPLAINT
                                              23
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 1 personnel at the University of California has resulted in an unprecedented amount of
 2 litigation in which the Superior Court of California has repeatedly held, on numerous
 3 occasions, that the University deprived the male student of a fair proceeding in
 4 adjudicating misconduct allegations.
 5             Upon information and belief, Defendant Regents possesses additional
 6 documentation demonstrating its unlawful pattern of gender-biased adjudications and
 7 disparate treatment applied to males and females.
 8             The foregoing combination of internal institutional pressure, ongoing OCR
 9 investigations, and pressure from the United States Department of Education, under a
10 threat of recession of federal funds, contributed to an overzealous prosecution and
11 erroneous finding of responsibility against Plaintiff.
12           This unlawful discrimination in violation of Title IX proximately caused
13 Plaintiff to sustain substantial injury, damage, and loss, including, without limitation,
14 reputational damage, emotional distress, psychological damages, loss of educational and
15 career opportunities, economic injuries and other direct and consequential damages.
16           As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
17 determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
18 disbursements.
19                               SECOND CAUSE OF ACTION
20             Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. §
21                             1681, et seq.- Selective Enforcement
22                                     (Defendant Regents)
23             Plaintiff repeats and re-alleges each and every allegation hereinabove as if
24 fully set forth herein.
25             As described above, the Title IX selective enforcement theory asserts that,
26 regardless of the student’s guilt or innocence, the severity of the penalty and/or decision
27 to initiate the proceeding was affected by the student’s gender.
28             As detailed herein, the University of California violated Title IX’s prohibition

                                           COMPLAINT
                                              24
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 1 against selectively enforcing its policies on the basis of gender.
 2            Specifically, Defendant Regents intentionally discriminated against Plaintiff
 3 because he is a male when it initiated the Title IX proceeding against Plaintiff in excess
 4 of its jurisdiction, imposed an unwarranted interim suspension that was in effect an
 5 expulsion, presumed him to be responsible for the alleged misconduct based on archaic
 6 stereotypes about males, permitted a single investigator to act as investigator, judge, jury
 7 and executioner, and imposed a “grossly disproportionate” and an excessively harsh and
 8 punitive sanction of a two year suspension, a de facto expulsion.
 9             Based on the foregoing, the actions taken and decisions made by Defendant
10 Regents in carrying out the Title IX investigation and adjudication process were
11 informed by Plaintiff’s gender, without regard to guilt or innocence.
12             Upon information and belief, the majority of Title IX cases at the University
13 of California involve female complainants and male respondents.
14           Upon information and belief, Plaintiff was found responsible and subjected to
15 lengthy suspension because he is a male.
16           This unlawful discrimination in violation of Title IX proximately caused
17 Plaintiff to sustain substantial injury, damage, and loss, including, without limitation,
18 reputational damage, emotional distress, psychological damages, loss of educational and
19 career opportunities, economic injuries and other direct and consequential damages.
20           As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
21 determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
22 disbursements.
23                                THIRD CAUSE OF ACTION
24        Denial of Fourteenth Amendment Due Process Rights Under 42 U.S.C. § 1983
25                               (Defendant Regents, DOES 1-5)
26             Plaintiff repeats and re-alleges each and every allegation hereinabove as
27 though fully set forth herein.
28           The Fourteenth Amendment to the United States Constitution provides that no

                                           COMPLAINT
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 1 state shall “deprive any person of life, liberty, or property, without due process of law.”
 2 A similar right is stated in the Fifth Amendment to the United States Constitution.
 3             Section 1983 of Title 42 of the U.S. Code provides in pertinent part:
 4                  Every person who, under color of any statute, ordinance, regulation or
 5                  custom, or usage, of any State or Territory or the District of Columbia,
                    subjects, or causes to be subjected, any citizen of the United States or
 6                  other person within the jurisdiction thereof to the deprivation of any
 7                  rights, privileges, or immunities secured by the Constitution and laws,
                    shall be liable to the party injured in an action at law, suit in equity, or
 8
                    other proper proceeding for redress…
 9
               As aptly observed by California’s Second District Court of Appeals: “Due
10
     process - two preeminent words that are the lifeblood of our Constitution. Not a precise
11
     term, but most everyone knows when it is present and when it is not. It is often most
12
     conspicuous by its absence. Its primary characteristic is fairness. It is self-evident that a
13
     trial, an adjudication, or a hearing that may adversely affect a person’s life must be
14
     conducted with fairness to all parties.” (Doe v. Regents of Univ. of California (2018) 28
15
     Cal. App. 5th 44, 46.)
16
               Given the severe implications of a responsibility finding in the university
17
     disciplinary context, an accused party must be afforded at least minimal procedural
18
     protections.
19
               Defendant Regents, in its adjudication of sexual misconduct and violence and
20
     levying sanctions against students, is a state actor exercising its jurisdiction over offenses
21
     that traditionally have been part of the responsibilities of the States.
22
               The U.S. Supreme Court has ruled that a not-for-profit athletic association’s
23
     regulatory activity was state action owing to the “close nexus between the state and the
24
     challenged action,” the pervasive entwinement of state school officials in the
25
     association’s structure, and the lack of a countervailing reason against attributing activity
26
     to the government. In so ruling, the U.S. Supreme Court reviewed the various
27
     circumstances in which an ostensibly private actor has been treated as a state actor, 531
28
                                              COMPLAINT
                                                 26
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 1 U.S. at 296:
 2
                  i.     when the challenged activity results from the State’s exercise of
 3                       “coercive power” and provides “significant encouragement, either
 4                       overt or covert,” Blum v. Yaretsky (1982) 457 U. S. 991, 1004;
 5               ii.     when a private actor operates as a “willful participant in joint activity
 6                       with the State or its agents,” Lugar v. Edmondson Oil Co. (1982) 457
                         U. S. 922, 941;
 7
 8              iii.     when a private actor is controlled by an agency of the state,
 9                       Pennsylvania v. Board of Directors of City Trusts of Philadelphia
10                       (1957) 353 U.S. 230;

11
                iv.      when the private entity has been delegated a public function by the
12                       State, West v. Atkins (1988) 487 U.S. 42, 56; and
13
14               v.      when the challenged activity is “entwined with governmental
                         policies”; or when government is “entwined in [its] management or
15                       control,” Evans v. Newton (1966) 382 U. S. 296, 299, 301.
16
17             The key tests, then, are “Government coercion,” “willful participation by the
18 private actor,” “Government control,” “delegation of public function to private entity,”
19 and “entwinement with Government policy or Government management or control.”
20             In this case, with respect to Defendant Regents’ adjudication of alleged
21 intimate partner violence, there has been a delegation of the public function of the state
22 in adjudicating sexual misconduct on college campuses thus creating a “close nexus
23 between the state and the challenged action” such that the ostensibly private behavior
24 “may be fairly treated as that of the state itself.” Here, Regents’ actions resulted from the
25 government’s exercise of “coercive power,” where it provided “significant
26 encouragement, either overt or covert,” Regents operated as a “willful participant in joint
27 activity with the state or its agents” and has been controlled by an “agency of the state”
28 and, with the delegation of a public function by the state, such that the ostensibly private
                                           COMPLAINT
                                              27
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 1 entity is “entwined with governmental policies” or when government is “entwined in
 2 [the private entity’s] management or control.” Brentwood, 531 U.S. at 296.
 3             Upon information and belief, during the Obama Administration, Regents acted
 4 in response to the federal government’s threat that colleges refusing to comply with the
 5 mandates of the Dear Colleague Letter would be found in violation of Title IX and be
 6 subject to substantial monetary penalties.
 7            Accordingly, Regents was coerced by the United States into complying with
 8 the Title IX investigative and adjudicatory process mandated by the April 2011 Dear
 9 Colleague Letter and by subsequent federal actions, statements, and directives
10 concerning its handling of sexual misconduct matters on campus.
11          Under clear and controlling case law, a private actor required by the United
12 States to investigate and adjudicate the violations of a federal statute under terms and
13 procedures dictated by the federal government is a state actor when engaging in such
14 investigation and adjudication.
15            When Regents investigated and adjudicated the complaint made against
16 Plaintiff, and when it sanctioned him, Regents was a state actor and was therefore
17 required to honor the rights and guarantees set forth in the United States Constitution.
18             In the course of Regents’ Title IX investigation and adjudication, it flagrantly
19 violated Plaintiff’s clearly established rights under the Due Process clause of the
20 Fourteenth Amendment through its repeated acts of gender bias and deprivation of the
21 minimal requirements of procedural fairness by, without limitation:
22          A person has a protected liberty interest in his good name, reputation,
23 honor, and integrity, of which he cannot be deprived without due process.
24           A person has a protected property interest in pursuing his education, as well as
25 in future educational and employment opportunities and occupational liberty, of which
26 he cannot be deprived without due process.
27             Prior to his interim suspension and later de facto expulsion, Plaintiff was a
28 graduate student in good standing at UCLA. His constitutionally protected property
                                           COMPLAINT
                                              28
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 1 interest in his continued enrollment at UCLA and to be free from arbitrary expulsion
 2 arises from the policies, courses of conduct, practices and understandings, established by
 3 UCLA.
 4              Plaintiff’s constitutionally protected property interest further arises from the
 5 express and implied contractual relationship between UCLA and Plaintiff.
 6           Consequently, when Plaintiff faced disciplinary action that included the
 7 possibility of suspension or dismissal if found responsible, then UCLA was required to
 8 provide him with Due Process as established by the Fourteenth Amendment to the
 9 United States Constitution and established California law.
10           Regents has a duty to provide its students equal protection and due process of
11 law by and through any and all policies and procedures set forth by Regents.
12          Plaintiff had obeyed all institutional rules when he was wrongly suspended on
13 an interim basis without a hearing and ultimately suspended for two years from his
14 graduate program at UCLA.
15              Under both federal and state law, Plaintiff was entitled to due process
16 including proper notice and a meaningful opportunity to be heard.
17           Plaintiff was entitled to a process commensurate with the seriousness of the
18 allegations and the potential discipline, sanctions and repercussions he was facing. The
19 allegations in this case resulted in a sanction that will have lifelong ramifications for
20 Plaintiff.
21              In the course of such investigation and adjudication, Defendants flagrantly
22 violated Plaintiff’s clearly established rights under the Due Process Clause of the
23 Fourteenth Amendment through its deprivation of the minimal requirements of
24 procedural fairness.
25          Defendants deprived Plaintiff of his liberty and property interests without
26 affording him basic due process, including, but not limited to, his right to a fair
27 investigation free of bias, his right to be heard by an impartial factfinder, and his right to
28 cross examine witnesses and challenge witnesses.
                                            COMPLAINT
                                               29
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 1             Defendants, as well as other agents, representatives, and employees of
 2 Defendant UCLA, were acting under color of state law when they showed intentional,
 3 outrageous, and reckless disregard for Plaintiff’s constitutional rights.
 4             As a direct and proximate result of the above conduct, Plaintiff has sustained
 5 damages, including, without limitation, reputational damage, emotional distress, loss of
 6 educational and career opportunities, economic injuries and other direct and
 7 consequential damages.
 8          As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
 9 determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
10 disbursements.
11                               FOURTH CAUSE OF ACTION
12                                      Breach of Contract
13                                      (Defendant Regents)
14             Plaintiff repeats and re-alleges each and every allegation hereinabove as if
15 fully set forth herein.
16             It is well established that the basic relationship between a student and a
17 university is contractual in nature. Kashmiri v. Regents of Univ. of California, 156 Cal.
18 App. 4th 809 (2007), as modified (Nov. 15, 2007), as modified (Nov. 28, 2007). “[B]y
19 the act of matriculation, together with payment of required fees, a contract between the
20 student and the institution is created....” Id. (internal citations omitted).
21             At all times relevant hereto, a contractual relationship existed between UCLA
22 and Plaintiff through UCLA’s policies and procedures governing the student disciplinary
23 system.
24             Through the documents it publishes and provides to its students, UCLA and
25 Regents make express contractual commitments to students involved in its disciplinary
26 process.
27             Plaintiff applied to and chose to enroll in UCLA for which all associated
28 tuition, fees, and expenses were paid in exchange for a commitment to his academic
                                           COMPLAINT
                                              30
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 1 graduate program. Plaintiff did so in reliance on his understanding, and with the
 2 reasonable expectation that UCLA would adhere to its stated policies, including its
 3 policies related to the adjudication of misconduct matters, and would implement and
 4 enforce its policies as set forth in its official publications.
 5              Based on the foregoing, UCLA created express and implied contracts with
 6 Plaintiff.
 7              UCLA, through its Title IX Coordinator and Title IX investigator, further
 8 made express representations to Plaintiff concerning his “rights” in the investigative
 9 process.
10              In addition to violating the terms of its own Policies, UCLA violated the
11 covenant of good faith and fair dealing implied in every contract, which implicitly
12 guaranteed that any proceedings would be conducted with basic fairness.
13              Based on the aforementioned facts and circumstances, UCLA breached
14 express and/or implied agreement(s) with Plaintiff.
15           Regents committed multiple breaches of its agreements with Plaintiff during
16 the investigation and adjudication process, including, without limitation, imposing an
17 interim suspension on Plaintiff despite a lack of reliable evidence and lack of a hearing.
18              As a direct and foreseeable consequence of the foregoing breaches, Plaintiff
19 sustained damages, including, without limitation, reputational damage, loss of
20 educational and career opportunities, economic injuries and other direct and
21 consequential damages.
22          As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
23 determined at trial, plus prejudgment interest.
24                                FIFTH CAUSE OF ACTION
25                                      Promissory Estoppel
26                                      (Defendant Regents)
27              Plaintiff repeats and re-alleges each and every allegation hereinabove as if
28 fully set forth herein.
                                            COMPLAINT
                                               31
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 1              UCLA’s various policies constitute representations and promises that UCLA
 2 should have reasonably expected to induce action or forbearance by Plaintiff.
 3          UCLA expected or should have reasonably expected Plaintiff to accept its
 4 offer of admission, incur expenses, and choose not to attend other colleges based on its
 5 express and implied promises that UCLA would not discriminate against Plaintiff and
 6 would not deny him his procedural rights should he be investigated for an alleged
 7 violation of the University’s policies.
 8              Plaintiff relied to his detriment on these express and implied promises and
 9 representations made by UCLA.
10           Based on the foregoing, UCLA is liable to Plaintiff based on estoppel.
11              As a direct, reasonable and foreseeable consequence of these breaches,
12 Plaintiff sustained damages, including without limitation, economic injuries, the inability
13 to complete his studies at UCLA or transfer to another college of equal caliber, and other
14 direct and consequential damages.
15             As a result of the foregoing, Plaintiff is entitled to damages in an amount to
16 be determined at trial, plus prejudgment interest.
17                                SIXTH CAUSE OF ACTION
18                                            Negligence
                                         (Defendant Regents)
19
                Plaintiff repeats and re-alleges each and every allegation hereinabove as if
20
     fully set forth herein.
21
                In order to state a negligence claim under California law, a plaintiff must show
22
     that the defendant owed the plaintiff a duty, defendant breached that duty, and such
23
     breach was the proximate cause of plaintiff’s damages.
24
                California courts have recognized the “special relationship” that exists
25
     between a university and its students, which gives rise to a duty of care “while they are
26
     engaged in activities that are part of the school's curriculum or closely related to its
27
     delivery of educational services. (Regents of University of California v. Superior Court
28
                                            COMPLAINT
                                               32
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 1 (2018) 4 Cal.5th 607, 624-625.)
 2           Here, Defendant Regents formed a university-student relationship with
 3 Plaintiff and owed him a duty to conduct the disciplinary process with due care, to
 4 perform an investigation free from bias or conflict, and to ensure proper training to those
 5 responsible for investigating and adjudicating the alleged policy violations.
 6           Such duties arise from UCLA’s relationship with Plaintiff, as a student of the
 7 University, an obligation acknowledged by UCLA’s policies.
 8           The foregoing duties were breached when Plaintiff did not receive the full
 9 protections of the disciplinary process, and when he was subjected to biased, defective
10 and flawed procedures and an improper decision unsupported by evidence.
11             Plaintiff suffered injuries as a direct result of Defendant’s breach of the duties
12 owed to him as a graduate student of UCLA, including loss of educational and career
13 opportunities, economic losses, emotional and reputational damages.
14             As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
15 determined at trial, plus prejudgment interest.
16                              SEVENTH CAUSE OF ACTION
17                            Violation of California Civil Code, § 51
18                                      (Defendant Regents)
19             John Doe repeats and realleges each and every allegation herein above as if
20 fully set forth herein.
21             The California Civil Code § 51, also known as the Unruh Civil Rights Act
22 provides: “All persons within the jurisdiction of this state are free and equal, and no
23 matter what their sex, race, color, religion, ancestry, national origin, disability, medical
24 condition, genetic information, marital status, or sexual orientation are entitled to the full
25 and equal accommodations, advantages, facilities, privileges, or services in all business
26 establishments of every kind whatsoever.”
27           UCLA’s policies provide, among other things:
28
                                            COMPLAINT
                                               33
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                  The University of California, Los Angeles is committed to creating
 1
                  and maintaining a community where all persons who participate in
 2                University programs and activities can work and learn together in an
 3                atmosphere free of all forms of harassment, exploitation, or
                  intimidation. Every member of the University community should be
 4                aware that the University is strongly opposed to sexual harassment
 5                and sexual violence and that such behavior is prohibited both by law
                  and University policy, including the University of California Policy
 6
                  on Sexual Violence and Sexual Harassment (“UC SV and SH Policy”)
 7                and the UCLA Student Conduct Code (“UCLA Conduct Code”).
 8             UCLA is a “business establishment” within the meaning of California Civil
 9 Code, § 51. Upon information and belief, UCLA maintains physical facilities, employs a
10 significant number of paid faculty and staff, provides an education and academic
11 experience to students, receives applications for admission from the general public,
12 receives tuition payments and fees from its students and is governed by the University of
13 California Board of Regents.
14           UCLA denied Plaintiff the advantages, facilities, privileges and services
15 afforded to students of UCLA by, among other things: conducting an investigation and
16 adjudication process biased against the male accused; failing to afford John Doe the
17 rights enumerated in its own guidelines and policies; failing to utilize the requisite
18 preponderance of the evidence standard; and assessing a sanction that was
19 disproportionate and unwarranted in light of the circumstances.
20           UCLA intentionally engaged in the following discriminatory acts or practices
21 against John Doe as the male accused: UCLA subjected John Doe to disciplinary action
22 in an arbitrary and capricious way, and in discrimination against him on the basis of his
23 male sex; upon accepting Jane Doe’s uncorroborated account of the events, the
24 Committee discriminated against John Doe, based solely on his gender; the decision
25 reached was discriminatory in that given the evidence (or lack thereof), a discriminatory
26 bias against males was required for a conclusion of sexual misconduct to be reached.
27             Based on the foregoing facts and circumstances, UCLA engaged in unlawful
28 discriminatory practices in violation of California Civil Code, § 51.
                                          COMPLAINT
                                                34
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 1             As a direct and proximate result of the above conduct, John Doe sustained
 2 tremendous damages, including, without limitation, emotional distress, loss of
 3 educational and career opportunities, economic injuries and other direct and
 4 consequential damages.
 5          As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
 6 determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
 7 disbursements.
 8                               EIGHTH CAUSE OF ACTION
 9                                     Wrongful Termination
10                                      (Defendant Regents)
11             Plaintiff repeats and realleges each and every allegation hereinabove as if fully
12 set forth herein.
13            As of May 2017, Plaintiff was employed by Defendant as a post-doctoral
14 scholar and as a lecturer under a written agreement with Defendant. At all times,
15 Plaintiff performed all duties required of him more than adequately.
16             From July l, 2017 to June 30, 2018, Plaintiff was to be employed by
17 Defendant Regents under the prestigious Willard F. Libby Teacher-Scholar position in
18 his department. Defendant wrote, “We consider you one of the best young teachers and
19 researchers in the country and look forward to your countless contributions to science
20 and education at UCLA.” Defendant also agreed to pay union dues or fair share service
21 fees required as a condition of employment for all postdoctoral scholars in the UC
22 system.
23             On May 10, 2017 after 5 p.m., Defendant improperly placed Plaintiff on
24 interim restrictions and discharged Plaintiff from his employment without good cause as
25 alleged above.
26             As a proximate result of Defendant’s conduct in terminating his employment
27 without good cause, and without Due Process or a fair hearing as required by Title IX
28 and Cal. Code Civ. Proc., § 1094.5, Plaintiff has suffered and continues to suffer losses
                                           COMPLAINT
                                              35
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 1 in earnings and other employment benefits to his damage in an amount to be established
 2 at trial.
 3             As a result of the foregoing, Plaintiff is entitled to damages in an amount to be
 4 determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
 5 disbursements.
 6                                    PRAYER FOR RELIEF
 7   WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 8          On the First, Second, and Third Causes Of Action for violation of Title IX of the
                                         th
 9 Education Amendments of 1972 and 14 Amendment Procedural Due Process, a
10 judgment awarding Plaintiff damages in an amount to be determined at trial, including,
11 without limitation, damages to physical well-being, emotional and psychological
12 damages, damages to reputation, past and future economic losses, loss of educational and
13 career opportunities, and loss of future career prospects, plus prejudgment interest,
14 attorneys’ fees, expenses, costs and disbursements;
15          On the Fourth Cause of Action for Breach of Contract, a judgment awarding
16 Plaintiff damages in an amount to be determined at trial, including, without limitation,
17 damages to physical well-being, emotional and psychological damages, damages to
18 reputation, past and future economic losses, loss of educational and career opportunities,
19 and loss of future career prospects, plus prejudgment interest, attorneys’ fees, expenses,
20 costs and disbursements;
21        On the Fifth Cause of Action for Promissory Estoppel, a judgment awarding
22 Plaintiff damages in an amount to be determined at trial, including, without limitation,
23 damages to physical well-being, emotional and psychological damages, damages to
24 reputation, past and future economic losses, loss of educational and career opportunities,
25 and loss of future career prospects, plus prejudgment interest, attorneys’ fees, expenses,
26 costs and disbursements;
27        On the Sixth Cause of Action for Negligence, a judgment awarding Plaintiff
28 damages in an amount to be determined at trial, including, without limitation, damages
                                           COMPLAINT
                                              36
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 1 to physical well-being, emotional and psychological damages, damages to reputation,
 2 past and future economic losses, loss of educational opportunities, and loss of future
 3 career prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and
 4 disbursements;
 5          On the Seventh Cause of Action for violation of California Civil Code, § 51, a
 6 judgment awarding John Doe damages in an amount to be determined at trial, including,
 7 without limitation, damages to physical well-being, emotional and psychological
 8 damages, damages to reputation, past and future economic losses, loss of educational
 9 opportunities, and loss of future career prospects, plus prejudgment interest, attorneys’
10 fees, expenses, costs and disbursements;
11         On the Eighth Cause of Action for Wrongful Termination, a judgment awarding
12 John Doe damages in an amount to be determined at trial, including lost earnings and
13 other employee benefits, past and future;
14          For interest on lost earnings and benefits at the prevailing legal rate from May 10,
15 2017;
16          For punitive damages in an amount appropriate to punish Defendant and deter
17 others from engaging in similar misconduct;
18        For reasonable attorney’s fees incurred by Plaintiff as permitted by statute or
19 contract;
20        For costs of suit incurred by Plaintiff; and
21          For such other and further relief as the court deems proper.
22
                                                   HATHAWAY PARKER
23
24   Dated: December 6, 2019                By:    _____/S/______________
                                                   MARK M. HATHAWAY
25                                                 JENNA E. PARKER
26                                                 Attorneys for Plaintiff
27
28
                                           COMPLAINT
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 1                                      JURY DEMAND
 2         Plaintiff John Doe herein demands a trial by jury of all triable issues in the
 3   present matter
 4
                                                   HATHAWAY PARKER
 5
 6   Dated: December 6, 2019                By:    _____/S/______________
                                                   MARK M. HATHAWAY
 7
                                                   JENNA E. PARKER
 8                                                 Attorneys for Plaintiff
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                                           COMPLAINT
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